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IN THE UNITED STATES DISTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
TERR\"vEsrAL, )
Peeaonen §
vs i No. 04-1076~r/An
oLENFnJRNER,mann, i
respondent §

 

ORDER OF DISMISSAL

 

Petitioner Terry Vestal, Tennessee Department of Correction (“TDOC”) prisoner number
125303, Who Was, at the time he filed this petition, an inmate at the Hardeman County Correctional
Facility, filed a petition pursuant to 28 U.S.C. § 2254 on April 14, 2004.

On April 14, 2005, the respondent filed a Suggestion of Death indicating that the petitioner
died on February 17, 2005. A copy of the petitioner’s death certificate has now been submitted As
the respondent has provided verification that the petitioner is deceased, the petition for Writ of habeas
corpus is hereby DISMISSED as moot. The Clerk is directed to prepare a judgment accordingly

IT lS SO ORDERED.

  

ED STATES DISTR]CT JUDGE

§ OWW 2095

DATE U

Thts document entered on the docket sheet in compliance

with nme se and.'or_m (a) FHCP on QB' `O€ 05 @

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number ll in
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Mark A. Fulks

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Honorable J ames Todd
US DISTRICT COURT

